959 F.2d 231
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Craig CLARK, a/k/a Michael Shane Sofer, Plaintiff-Appellant,v.Fred SPRUILL;  Chowan County, Defendants-Appellees.
    No. 91-7750.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1992.Decided April 3, 1992.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   Terrence W. Boyle, District Judge.  (CA-91-738-BO)
      Michael Craig Clark, appellant pro se.
      William Thomas Culpepper, III, Edenton, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Michael Craig Clark appeals from the district court's order dismissing as frivolous his action filed under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Clark v. Spruill, No. CA-91-738-BO (E.D.N.C. Nov. 7, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    